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 1
     THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant, Joshua Ortega
 4
 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8                                              )   Case No.: 2:08-cr-0417-MCE
     UNITED STATES OF AMERICA,                  )
 9                                              )   STIPULATION AND ORDER FOR
                  Plaintiff,                    )   CONTINUANCE OF JUDGMENT AND
10                                              )   SENTENCING AND MODIFICATION
          vs.                                   )   OF PSR SCHEDULE
11   JOSHUA ORTEGA, et al.,                     )
                                                )
12                Defendants.                   )
                                                )
13
14         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
15   Judgment and Sentencing scheduled for May 31, 2012 at 9:00 a.m. is continued to
16   August 2, 2012 at 9:00 a.m. in the same courtroom. The continuance is requested
17   because defense counsel needs additional time to prepare for the Pre-Sentence Report
18   (PSR). Jason Hitt, Assistant United States Attorney, and Thomas A. Johnson,
19   Defendant’s attorney, both agree to this continuance.
20
21   IT IS SO STIPULATED.
22
     DATED: May 29, 2012                             By:     /s/ Thomas A. Johnson
23                                                           THOMAS A. JOHNSON
                                                             Attorney for Defendant
24                                                           JOSHUA ORTEGA
25
26
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28
                            Case 2:08-cr-00417-MCE Document 183 Filed 05/30/12 Page 2 of 4



 1   DATED: May 29, 2012                                             BENJAMIN WAGNER
                                                                     United States Attorney
 2
                                                               By:    /s/ Thomas A. Johnson for
 3                                                                   JASON HITT
                                                                     Assistant United States Attorney
 4
 5
                            IT IS SO ORDERED.
 6
 7
     Dated: May 30, 2012
 8
                                                     __________________________________
 9
                                                     MORRISON C. ENGLAND, JR
10   DEAC_Signatu re-END:
                                                     UNITED STATES DISTRICT JUDGE

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 4                               IN THE UNITED STATES DISTRICT COURT
 5                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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                                                     )   Case No.: 2:08-cr-0417-MCE
 7   UNITED STATES OF AMERICA,                       )
                                                     )   MODIFICATION OF SCHEDULE FOR
 8                  Plaintiff,                       )   PRE-SENTENCE REPORT AND FOR
                                                     )   FILING OF OBJECTIONS TO THE PRE-
 9        v.                                         )   SENTENCE REPORT
     JOSHUA ORTEGA,                                  )
10                                                   )
                    Defendant.                       )
11                                                   )
12
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
13                                               this Court.

14   Date of Referral to Probation Officer:                       September 29, 2011
                                                                  (Date of Plea or Verdict)
15
16   Judgment and Sentencing date:                                August 2, 2012

17   Reply or Statement                                           July 26, 2012
18
     Motion for Correction of the Pre-Sentence
19   Report shall be filed with the court and                     July 19, 2012
     served on the Probation Officer and opposing
20   counsel no later than:
21
     The Pre-Sentence Report shall be filed with
22   the court and disclosed to counsel no later                  July 12, 2012
     than:
23
24   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                    July 5, 2012
25   Probation Officer and opposing counsel
     no later than:
26
27   The proposed Pre-Sentence Report                             June 20, 2012
     shall be disclosed to counsel no later than:
28
     Copies of this schedule provided to: _____ AUSA          _____ Defense Counsel       _____ USPO
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 1
     Dated:                         By: __/s/___________________________________
 2                                        COURTROOM CLERK

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